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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

DANIEL C. WALLER, JR.,

                     Plaintiff,
                                                                             Case Number 15-13305
v.                                                                           Honorable David M. Lawson
                                                                             Magistrate Judge David R. Grand
TIAVON MOORE-PATTON, RAMONA
VINCENT, MARIA ROSADO, BENJAMIN
QUANTA MiDOGE, CRINISHA HALL,
ANGELA CALLOWAY, and ROBERT CAIN,

                  Defendants.
_______________________________________/

                                                 JUDGMENT

       In accordance with the order adopting the magistrate judge’s report and recommendation and

granting the defendants’ motion for summary judgment entered on this date,

       It is ORDERED AND ADJUDGED that the case is DISMISSED WITH PREJUDICE.



                                                      s/David M. Lawson
                                                      DAVID M. LAWSON
                                                      United States District Judge

Dated: February 23, 2017

                                                PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on February 23, 2017.

                                                          s/Susan Pinkowski
                                                          SUSAN PINKOWSKI
